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 7

 8                            UNITED STATES DISTRICT COURT

 9                                    DISTRICT OF NEVADA

10     LAMONA RAE GROSS, an individual,                              Case Number
                                                               2:19-cv-01967-JAD-VCF
11                                  Plaintiff,

12           vs.
                                                          STIPULATION OF DISMISSAL OF
13     PLUSFOUR, INC., a Nevada Corporation;               DEFENDANT PLUSFOUR, INC.
       and EXPERIAN INFORMATION                                 WITH PREJUDICE
14     SOLUTIONS, INC., a Foreign Corporation,                        & Order
15                                 Defendants.                     ECF No. 20

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17         IT IS HEREBY STIPULATED by and between Plaintiff, Lamona R. Gross (“Plaintiff”)

18 and Defendant, PlusFour, Inc. (“Defendant”), by and through their respective attorneys of record,

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 1 that all Plaintiff’s claims asserted against Defendant in the above-captioned matter shall be and

 2 hereby are dismissed with prejudice and each party shall bear its own attorney fees and costs.

 3 Dated this 29th day of October, 2020.                Dated this 29th day of October, 2020.

 4 COGBURN LAW                                          SHUMWAY VAN

 5
     By: /s/Erik W. Fox                                 By: /s/Margaret A. Manning
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         Henderson, Nevada 89074                            Las Vegas, NV 89123
 9       Attorneys for Plaintiff                            Attorneys for PlusFour, Inc.

10          IT IS SO ORDERED.

11
                                             ORDER
12
                                                   UNITED STATES DISTRICT JUDGE
13            Based on the parties' stipulation [ECF No. 20] and good cause appearing, and because
      the stipulated dismissal of the claims against Defendant PlusFour, Inc. leaves no claims
14    pending, IT IS HEREBY ORDERED that THIS ACTION IS DISMISSED with prejudice,
                                                   DATE
      each side to bear its own fees and costs. The Clerk of Court is directed to CLOSE THIS
15    CASE.

16                                                _________________________________
                                                  U.S. District Judge Jennifer A. Dorsey
17                                                Dated: November 5, 2020

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